      Case 2:17-cr-00241-JCZ-JVM Document 286 Filed 09/23/21 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS                                                        17-241

IRVIN MAYFIELD                                                SECTION "A" MAG. 1
RONALD MARKHAM


                              MINUTE ENTRY (JS-10: 15)

      On September 23, 2021, the Court held a telephone status conference with the

following counsel in attendance: Dall Kammer for the Government; Claude Kelly for

defendant Irvin Mayfield; Sara Johnson for defendant Ronald Markham.

      The Court scheduled the telephone conference because the deadline for the

parties to submit sentencing memoranda was extended to October 12, 2021 due to

Hurricane Ida. (Rec. Doc. 285, Order). This new deadline falls after the current date

scheduled for the sentencings, October 6, 2021.

      Defendants’ sentencings are reset from October 6, 2021 to Wednesday,

November 3, 2021, at 10:00 a.m.

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cc: United States Probation Office
